Case No. 1:11-cv-02179-WYD-KMT Document 27 filed 10/20/11 USDC Colorado pg 1 of 7




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 11-cv-02179-WYD-KMT



   JANE ROE,

   Plaintiff,

           v.

   CATHOLIC HEALTH INITIATIVES COLORADO, A
   COLORADO NONPROFIT CORPORATION D/B/A
   CENTURA HEALTH-PENROSE HOSPITAL,

   Defendant.


                                       PROTECTIVE ORDER


           Plaintiff Jane Roe (“Plaintiff”) and Defendant Catholic Health Initiatives Colorado d/b/a

   Centura Health-Penrose Hospital (“Defendant) (collectively, the “Parties”), believe that certain

   information that may be sought in discovery in this litigation constitutes confidential

   information. To protect the confidentiality of this information, the provisions of this Protective

   Order shall apply.

           IT IS HEREBY ORDERED THAT:

           1.      “Confidential Information” is any information, documents, testimony, or other

   discovery materials that contains, reflects, or reveals information that the designating Party

   believes in good faith is confidential, proprietary, commercially valuable, competitively

   sensitive, or otherwise entitled to protection under Fed. R. Civ. P. 26(c)(7). Any information to

   be designated by a party as “Confidential Information” must first be reviewed by a lawyer and be
Case No. 1:11-cv-02179-WYD-KMT Document 27 filed 10/20/11 USDC Colorado pg 2 of 7




   determined to be subject to protection under Fed. R. Civ. P. 26(c)(7) or other federal or state

   confidentiality protection before being marked “Confidential Information.” Such confidential

   information may include, but is not limited to, medical records, non-public business information,

   personnel information, financial statements, or technical information.

              2.   Any Party may designate as “Confidential” any “Confidential Information” that

   the producing Party reasonably believes might, if disclosed have a serious or adverse effect on

   the producing Party.

              3.   Information designated “Confidential Information” may be disclosed only to the

   following persons:

                   a.     The Court and its officers, any court reporters who transcribe testimony at
                          hearings, trial, or depositions, and any trial jurors;

                   b.     Outside counsel of record for the Parties and their employees assisting
                          with this litigation;

                   c.     Any in-house counsel for the Parties who has responsibility for this
                          litigation;

                   d.     Plaintiff and one designated representative of Hospital who provides direct
                          assistance to outside counsel of record or who makes strategic decisions
                          concerning this litigation;

                   e.     Third-party consultants or experts retained by outside counsel of record
                          pursuant to the procedure set forth in Paragraph 6;

                   f.     Anticipated witnesses at deposition or trial who were involved in creating
                          the Confidential Information or who received or reviewed the Confidential
                          Information in the course of their employment; and

                   g.     Any other person entitled to receive the Confidential Information by Court
                          order or by written stipulation of the parties.

   Prior to receiving any Confidential Information, any person within sub-part (d), (e), (f), or (g)

   must be provided a copy of this Stipulated Protective Order and agree to be bound by its terms



   761071-3                                        2
Case No. 1:11-cv-02179-WYD-KMT Document 27 filed 10/20/11 USDC Colorado pg 3 of 7




   by executing a copy of an agreement to that effect substantially in the form of Exhibit A.

   Counsel obtaining such agreements shall retain them and make them available to the other Party

   upon request.

              4.   Information designated “Confidential” may be disclosed only to the persons listed

   in sub-parts (a), (b), (e), (f), and (g) of Paragraph 3.

              5.   A receiving Party or any person who has agreed to be bound by the Stipulated

   Protective Order shall maintain all information designated Confidential Information in

   confidence, and shall use such information solely for purposes of this litigation or any appeals

   therefrom. Confidential Information shall not be disclosed or revealed to anyone not authorized

   by this Stipulated Protective Order to receive such material.

              6.   To designate a document or object as Confidential Information the designating

   Party shall affix a label or electronic mark upon the document or object that reads “Confidential

   Information.” A Party may correct an inadvertent omission of such a label within thirty (30) days

   of production by notifying the receiving Party in writing and providing a substitute copy of the

   document or object.

              7.   To designate testimony as Confidential Information the designating Party may

   make a statement on the record at any time during the deposition or testimony. In addition, even

   in the absence of a statement on the record, any deposition testimony concerning a document

   designated Confidential Information shall be deemed Confidential Information. The court

   reporter shall separately transcribe any portion of a deposition or testimony so designated and

   shall mark each such page of the transcript with the word “CONFIDENTIAL.” A Party may also

   make such a designation within twenty-one (21) days of receiving a copy of the transcript of



   761071-3                                            3
Case No. 1:11-cv-02179-WYD-KMT Document 27 filed 10/20/11 USDC Colorado pg 4 of 7




   such testimony, by stating in writing the pages and line numbers of confidential information. The

   receiving Party will maintain a copy of such designation together with each copy of the

   transcript. During the interim twenty-one-day period after receipt of a transcript, the Parties will

   treat all transcripts as confidential...

              8.    If a Party includes Confidential Information with the Court, it shall be filed under

   seal in the manner provided for in D.C.COLO. L Civ. R. 7.2 and 7.3.

              9.    Any other person joined in this action via counterclaim, cross-claim, or third party

   claim shall become a “Party” within the meaning of this Protective Order.

              10.   A party may object to the designation of particular Confidential Information by

   giving written notice to the party designating the disputed information. The written notice shall

   identify the information to which the objection is made. If the parties cannot resolve the

   objection within ten (10) business days after the time the notice is received, it shall be the

   obligation of the party designating the information as Confidential to file an appropriate motion

   requesting that the court determine whether the disputed information should be subject to the

   terms of this Protective Order. If such a motion is timely filed, the disputed information shall be

   treated as Confidential under the terms of this Protective Order until the Court rules on the

   motion. If the designating party fails to file such a motion within the prescribed time, the

   disputed information shall lose its designation as Confidential and shall not thereafter be treated

   as Confidential in accordance with this Protective Order. In connection with a motion filed under

   this provision, the party designating the information as Confidential shall bear the burden of

   establishing that good cause exists for the disputed information to be treated as Confidential.

              11.   A receiving Party is not prohibited from disclosing or using any otherwise



   761071-3                                          4
Case No. 1:11-cv-02179-WYD-KMT Document 27 filed 10/20/11 USDC Colorado pg 5 of 7




   Confidential Information if that information:

                    a.      Constitutes or becomes public knowledge;

                    b.      Was acquired by the receiving party from a third party having the right to
                            disclose such information; or

              12.   Nothing in this Stipulated Protective Order is intended to or shall be deemed to

   restrict or limit a Party’s use or disclosure of its own Confidential Information.

              13.   Outside counsel of record and each individual who executes Exhibit A shall

   ensure that all materials designated Confidential Information are maintained in such a manner as

   to prevent disclosure except in accordance with the terms of this Stipulated Protective Order.

              14.   Within thirty (30) days after the conclusion of trial and appeal or any other

   termination of this litigation, All Confidential Information shall be returned to the designating

   Party or destroyed.

              15.   In the event a person bound by this Protective Order is subpoenaed or served with

   legal process by a third party to produce or otherwise disclose another Party’s Confidential

   Information or Attorneys’ Eyes Only Information, that person shall give prompt written notice to

   the designating Party.

              16.   The terms of this Stipulated Protective Order shall survive the final disposition of

   this litigation. The Court shall retain jurisdiction to construe, enforce, or amend the provisions of

   this Stipulated Protective Order.




   761071-3                                          5
Case No. 1:11-cv-02179-WYD-KMT Document 27 filed 10/20/11 USDC Colorado pg 6 of 7




                 17. This Stipulated Protective Order may be modified in writing by Court order or by

                    agreement of the Parties. The Parties are entitled to seek modification of this

                    Stipulated Protective Order by motion.

              IT IS SO ORDERED this 20th day of October, 2011.




                                                 _____________________________
                                                 United States District Court Judge



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   761071-3                                         6
Case No. 1:11-cv-02179-WYD-KMT Document 27 filed 10/20/11 USDC Colorado pg 7 of 7




                                          EXHIBIT A
                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO



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              v.

   CATHOLIC HEALTH INITIATIVES COLORADO, A
   COLORADO NONPROFIT CORPORATION D/B/A
   CENTURA HEALTH-PENROSE HOSPITAL,

   Defendant.


                       AGREEMENT TO TERMS OF PROTECTIVE ORDER


              I, _______________________________, having reviewed this Stipulated Protective

   Order entered by the Court, agree to be bound by its terms and to submit to the jurisdiction of the

   Court for purposes of enforcing this Order.

              Dated: _________________




   761071-3                                        7
